                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN


In re:                                               Case No. 17-51785
                                                     Chapter 7
Carol Spengler                                       Hon. Maria L. Oxholm


         Debtor(s)



 CHAPTER 7 TRUSTEE’S APPLICATION TO RETAIN BK GLOBAL REAL ESTATE
                     SERVICES AND TO PROCURE
    CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. §§327, 328 AND 330

               Doug Ellmann, as Chapter 7 Trustee (the “Trustee”) for the above referenced

debtor(s) (together, the “Debtor”), by and through the undersigned counsel, files this Application

for entry of an order, substantially in the form attached hereto as Exhibit A, authorizing retention

of (1) BK Global Real Estate Services (“BKRES”) under the terms set forth in the agreement (the

“BKRES Agreement”) attached to BKRES’ Affidavit of Disinterestedness at Exhibit B (the

“BKRES Affidavit”) and (2) (“Listing Agent”) under the terms of the agreement (the “Listing

Agreement”) attached to Listing Agent’s Affidavit of Disinterestedness at Exhibit C (the “Listing

Agent Affidavit”). In support thereof, the Trustee respectfully states as follows:

                                   PRELIMINARY STATEMENT

               Trustee requests approval to retain BKRES and local licensed Listing Agent

(individually and collectively referred to as “Broker or Brokers”), at no cost to the estate, to

negotiate with and persuade the first lienholder on certain real property in which the estate has no

equity to (1) allow Trustee to sell such property at the highest price that the market will bear,

(2) waive the resulting deficiency claim and (3) pay an 11 U.S.C. § 506 surcharge to provide a

carveout for the benefit of the estate and pay all other sale expenses, including a 6% brokerage


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commission that will be shared equally by BKRES and Listing Agent only upon the closing of a

sale that is approved by this Court.

               BKRES and its affiliates have proprietary technology and a national team of

experienced loan servicing specialists, asset managers, negotiators, trustee relation managers, real

estate brokers and agents, closing specialists and attorneys with extensive experience in procuring

the consent of mortgage lenders and servicers to sell over-encumbered properties and provide

significant cash recoveries to selling estates with no equity, through the Consented Sale™ process

described herein.

               The proposed agreements are attached and provide that BKRES and Listing Agent

will not be entitled to any compensation from the estate whatsoever under any circumstances. They

will only receive and share a customary brokerage commission that is paid by secured creditor as

an 11 U.S.C. § 506 surcharge approved by this Court.

               The Trustee (1) believes that hiring BKRES and Listing Agent to pursue a

Consented Sale™ will likely result in secured creditor paying a carveout for the benefit of the

estate with proceeds from the public sale of an asset in which the estate has no equity and

(2) expects to obtain secured creditor’s agreement to a Consented Sale™, and bring a separate

motion seeking this Court’s approval of the procedures, terms and conditions by which the over-

encumbered property will be sold, within the coming months.




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                                          JURISDICTION

                 1.    This Court has jurisdiction to consider this Application pursuant to 28

U.S.C. §§ 157 and 1334. This matter is a core proceeding within the meaning of 28 U.S.C.

§ 157(b)(2)(A), (M), (N), and (O).

                 2.    Venue is proper before this Court pursuant to 28 U.S.C. §§1408 and 1409.

                                          BACKGROUND

                 3.    On 08/17/2017, the Debtor commenced this case by filing a voluntary

petition for relief under Chapter 7 of the United States Bankruptcy Code.

                 4.    Thereafter, the Trustee was appointed as the Chapter 7 trustee in this case.

                 5.    The Trustee held and concluded the 341 meeting on 09/26/2017.

                 6.    The Debtor is the sole owner of real property located at 474 Edge Hill Farm

Rd, Heathsville, VA 22473 (the “Property”).

                 7.    The Debtor has no equity in the Property. The Debtor’s schedules reflect

that the Property is currently worth $1,800,000, but is subject to a first mortgage lien (the “Senior

Mortgage”) in favor of MTGLQ Investors, L.P. (the “Secured Creditor”) in an amount exceeding

$1,536,503 and junior mortgage in favor of Bank of Lancaster in an amount exceeding

$580,775.19.

                 8.    The Trustee, after reviewing certain materials, including (without

limitation) the BK Score™1, sales analysis report and opinion of value for the Property provided

by BKRES and Listing Agent, has determined it to be in the best interest of the Debtor’s estate

and all creditors to negotiate to obtain Secured Creditor’s agreement and consent (“Consent”) to

do the following, with the proviso that the hired professionals, BKRES and Local Agent, shall not

participate in the sale and purchase of any estate property except as hired Brokers and except for

the following:

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                  a. sell the Property to whichever third party Trustee determines to have made the

                        best qualified offer during a public sale approved by the Court;

                  b. buy the Property from the Debtor’s estate if (and only if) no such offer is made2;

                  c. release the Senior Mortgage and otherwise waive all of its claims against the

                        estate with respect to the Property (including any deficiency claims resulting

                        from the proposed sale); and

                  d. agree to a 11 U.S.C. § 506 surcharge to pay all of the customary expenses

                        associated with the proposed sale, including the payment of a 6% real estate

                        brokerage commission to BKRES and Listing Agent and reimbursement of

                        their out-of-pocket expenses, and provide a meaningful carveout for the benefit

                        of allowed unsecured creditors of the Debtor’s estate.


                  9.       The Trustee also has determined it to be in the best interest of the

Debtor’s estate and all creditors to request authorization to engage Brokers BKRES and Listing

Agent to provide reasonable and necessary property preservation, maintenance, and upkeep

services to the subject estate Property and to reimburse the Brokers in a maximum amount not to

exceed $500.00 for any approved reasonable, necessary out-of-pocket costs and expenses incurred

by Brokers associated with property preservation, maintenance, and upkeep of the subject Property

in connection with a potential sale, upon the availability of funds from the estate, without the need

for further Order.

                  10.      Trustee expects BKRES and Listing Agent to obtain Secured Creditor’s

full, final and unconditional Consent and bring a separate motion seeking an order approving the



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  In the event that the Property is not sold to a third party, the Brokers will be paid in accordance with the non-third
party sale terms of the BKRES Agreement and Listing Agreement.
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sale of the Property (the “Motion to Approve Sale”) within several months of the entry of the order

sought by this Application.

               11.     By this Application, the Trustee requests authority pursuant to Sections 327,

328(a) and 330 of the Bankruptcy Code to (a) retain BKRES and Listing Agent to provide the

necessary professional assistance and representation required by the Trustee to fulfill the

Trustee’s duties pursuant to 11 U.S.C. § 704 in order to procure Secured Creditor’s Consent,

(b) engage Brokers BKRES and Listing Agent to provide reasonable and necessary property

preservation, maintenance, and upkeep services to the subject estate Property to facilitate the sale

of the Property for the benefit of the Secured Creditor(s) and bankruptcy estate, (c) reimburse

Brokers in the maximum amount not to exceed $500.00 for any approved, out-of-pocket costs

incurred by Brokers associated with property preservation, maintenance, and upkeep of the subject

Property in connection with a potential sale, upon the availability of funds from the estate, without

the need for further Order, and (d) approve Secured Creditor’s payment of the fees described herein

and below directly to BKRES and Listing Agent at closing of the sale of the Property, if and when

the Consent and Motion to Approve Sale are granted.




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                                                  APPLICATION

                   12.      Section 328(a) of the Bankruptcy Code provides, in relevant part, that a

debtor “with the court’s approval, may employ or authorize the employment of a professional

person under section 327...on any reasonable terms and conditions of employment, including on a

retainer, on an hourly basis, on a fixed percentage or fee basis, or on a contingent fee basis.” 11

U.S.C. § 328(a). Section 330 of the Bankruptcy Code permits the Court to “award to a trustee…

or a professional person employed under section 327…(A) reasonable compensation for actual,

necessary services rendered [by such party]… and (B) reimbursement for actual, necessary

expenses.” 11 U.S.C. § 330(a)(1).


                   13.      As further described in the materials attached to their affidavits, BKRES3

and Listing Agent have extensive experience obtaining the consent and agreement of mortgage

lenders and servicers to the sale of their collateral and resolution of any resulting unsecured claims

in order to produce a recovery for estates from over-encumbered assets in which the estate has no

equity. [An expedited sale of the estate Property with normal 21 day notice to all interested parties,

securing an allowed secured claim in this case pursuant to Section 363 of the Bankruptcy Code

will enhance the bankruptcy relief sought by the Debtor(s), provide a recovery of value for the

bankruptcy estate that will result in a meaningful distribution to unsecured creditors, and provide

direct equitable benefits to the Secured Creditor in the following ways:

                   a.       in exchange for an expedited free and clear sale and realization of the

                   current fair market value of the Property by the Secured Creditor, the Debtor’s

                   estate will be released from the Senior Mortgage and any deficiency claims

                   resulting from the sale;


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    BKRES is the broker affiliate of BK Global (http://www.bkginc.com/).
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              b.     an expedited free and clear sale of the Property will provide a loss mitigation

              option that enables the Secured Creditor and Debtors to avoid the substantial

              expense of foreclosure proceedings and the damaging impact of foreclosure on the

              financial recovery of the bankrupt Debtors and their ability to obtain future credit;

              c.     an expedited free and clear sale of the Property will provide a negotiated

              cash payment as a meaningful recovery of value for the bankruptcy estate and the

              unsecured creditors;


              d.     an expedited free and clear sale of the Property will eliminate the need for

              a foreclosure sale and enable the Secured Creditor to limit its expenses to legal

              costs, property preservation costs, insurance, and taxes; and,


              e.     the Debtors’ voluntary surrender of the Property to the administration of the

              Trustee and the Secured Creditor’s consent to the sale of the Property will enable

              the Trustee to use the forces of a free market to establish the true fair market value

              of the Property for the benefit of all interested and affected parties.]


              14.    The Trustee believes that the highest and best value for the Property will be

    generated through a sale in which the Property is widely marketed to the public and offered

    at the highest price that the market will bear. The Trustee further believes that such a sale

    is in the best interest of the Debtor’s estate, but can only be achieved if Secured Creditor’s

    Consent is first obtained. That is why the Trustee believes that retaining BKRES and

    Listing Agent to obtain Secured Creditor’s Consent is in the best interests of the Debtor’s

    estate.




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                  15.      In no event will the estate have any obligation to pay BKRES or Listing

         Agent for their services, or to pay for customary title and closing services. The terms of

         the BKRES Agreement and Listing Agreement and this Application provide that BKRES

         and Listing Agent are only entitled to payment if and when (a) Secured Creditor grants its

         Consent, (b) the Motion to Approve Sale is granted and (c) the Property is sold4, in which

         event BKRES and Listing Agent will receive and share a 6% real estate brokerage

         commission and obtain reimbursement of any out-of-pocket expenses and payment for all

         other expenses associated with the sale of the Property from the sale proceeds at closing in

         accordance with the order approving the sale.


                  16.      BKRES and Listing Agent will not be entitled to any fees if Secured

         Creditor does not grant its Consent or the Court does not grant the Motion to Approve Sale.

                  17.      The Trustee submits that the terms of employment and compensation as set

         out in the BKRES Agreement and Listing Agreement are reasonable in light of the

         extensive experience of BKRES and Listing Agent and the nature of the services they

         provide.

                  18.      BKRES attested that it is a disinterested person within the meaning of

         Section 101(14) of the Bankruptcy Code and Federal Rules of Bankruptcy Procedure 2014

         and 2016(a). Attached hereto as Exhibit B is an Affidavit of Disinterestedness of BKRES.

         BKRES also attests, pursuant to Bankruptcy Rule 2016, that it shall not split or share its

         fee with any individual or entity other than Listing Agent, or a buyer’s Agent, if applicable.




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  In the event that the Property is not sold to a third party, the Brokers will be paid in accordance with the non-third
party sale terms of the BKRES Agreement and Listing Agreement.


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                19.    Listing Agent attested that it is a disinterested person within the meaning of

Section 101(14) of the Bankruptcy Code and Federal Rules of Bankruptcy Procedure 2014 and

2016(a). Attached hereto as Exhibit C is an Affidavit of Disinterestedness of Listing Agent.

Listing Agent also attests, pursuant to Bankruptcy Rule 2016, that it shall not split or share its fee

with any individual or entity other than BKRES, or a buyer’s Agent, if applicable.

                                           CONCLUSION

       For the foregoing and all other necessary and proper purposes, the Trustee seeks the Court’s

authority to retain BKRES and Listing Agent in this case, and requests that the Court approve the

compensation arrangements set forth in the BKRES Agreement and Listing Agreement and this

Application pursuant to Sections 327, 328(a) and 330 of the Bankruptcy Code.

 Date: 1/8/18                                           Respectfully submitted,


                                                        By    /s/ Douglas S. Ellmann
                                                        Douglas S. Ellmann (P34617)
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                                           EXHIBIT A

                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN


In re:                                            Case No. 17-51785
                                                  Chapter 7
Carol Spengler                                    Hon. Maria L. Oxholm


         Debtors               /

   ORDER AUTHORIZING THE CHAPTER 7 TRUSTEE TO RETAIN BK GLOBAL
    REAL ESTATE SERVICES AND TO PROCURE CONSENTED PUBLIC SALE
                PURSUANT TO 11 U.S.C. §§327, 328 AND 330

                Upon the Notice and Application of Doug Ellmann, the trustee in the above-

captioned case (“Trustee”), to Retain BK Global Real Estate Services and to Procure Consented

Public Sale pursuant to 11 U.S.C. § § 327, 328 and 330 (“Application”) [Docket No. ], the Court

having reviewed and considered the Notice, Application and the Affidavit of Disinterestedness

and having found good and sufficient cause appearing therefor and the same to be in the best

interest of Debtor and the creditors the Court hereby FINDS that:

            A. The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157(b)(2).

            B. Venue of this Chapter 7 case and the Application is proper pursuant to 28 U.S.C.

         §§ 1408 and 1409.

            C. Notice of the Application was sufficient under the circumstances.

                Based upon the foregoing findings of fact, it is hereby

                ORDERED, ADJUDGED, AND DECREED that:




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         1.    The Application is hereby GRANTED.

         2.    Defined terms not otherwise defined herein have the meanings given to them in the

Application and the Affidavit.

         3.    The Trustee is authorized to retain and compensate BKRES and local licensed

Listing Agent to provide the necessary professional assistance and representation required

by the Trustee to fulfill the Trustee’s duties pursuant to 11 U.S.C. § 704 in order to procure

Secured Creditor’s Consent, and otherwise market and sell the Property, in Debtor’s Chapter 7

case pursuant to Sections 327, 328(a) and 330 of the Bankruptcy Code, and Bankruptcy Rules

2014 and 2016, in accordance with the terms and conditions set forth in the BKRES Agreement,

the Listing Agreement and this Order. BKRES and Listing Agent shall not split or otherwise share

their fees with any other person or entity.

         4.    BKRES and Listing Agent are disinterested persons within the meaning of

Bankruptcy Code Section 101(14).

         5.    BKRES and Listing Agent shall be compensated in accordance with the BKRES

Agreement and Listing Agreement, respectively, and such compensation shall not hereafter be

subject to challenge except under the standard of review set forth in Section 330 of the Bankruptcy

Code.

         6.    BKRES and Listing Agent shall be authorized to receive and retain their fees from

Secured Creditor at the successful closing of the sale of the Property without necessity of further

order of the Court. The estate shall, in no circumstance, be obligated to compensate BKRES or

Listing Agent in such event and BKRES and Listing Agent shall not have a claim against the estate

for any unpaid amounts. BKRES and Listing Agent, and anyone claiming by, through or under

either of them, shall only have recourse for recovering its fee to Secured Creditor. The estate shall

have no liability for any such claim.
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          7.    Trustee is hereby authorized to engage Brokers BKRES and Listing Agent to

provide reasonable and necessary property preservation, maintenance, and upkeep services to the

subject estate Property to facilitate the sale of the Property for the benefit of the Secured Creditor(s)

and bankruptcy estate, and to reimburse the Brokers in a maximum amount not to exceed $500.00

for the approved reasonable, necessary costs and expenses of preserving, or disposing of, the

subject Property, without the need for further Order.

          8.    Notice of the Application was adequate and proper.

          9.    This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation of this Order.

          10.     All fees awarded to the professional(s) for the Trustee are subject to the

approval of the Court under 11 U.S.C. §§ 330 and 331.




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